
926 A.2d 198 (2007)
399 Md. 679
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Fritz H. SCHNEIDER, Respondent.
Misc. Docket AG, No. 85 September Term 2006.
Court of Appeals of Maryland.
June 19, 2007.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein pursuant to Maryland Rule 16-772, it is this 19th day of June, 2007
ORDERED, by the Court of Appeals of Maryland, that Fritz H. Schneider be, and is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Fritz H. Schneider from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
